861 F.2d 265Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Leon SAMPLE, Petitioner-Appellant,v.Terrie C. CHAVIS, Warden, Respondent-Appellee.
    No. 88-6685.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Sept. 14, 1988.Decided:  Oct. 7, 1988.
    
      William Leon Sample, appellant pro se.
      Before WIDENER, JAMES DICKSON PHILLIPS and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      William Leon Sample appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Sample v. Chavis, C/A No. 88-993-R (D.Md. May 25, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    